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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 11, 2021
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION
                                                                  §
     In re:
                                                                  §   Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  §   Case No. 19-34054-sgj11
                                                                  §
                                      Debtor.
                                                                  §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  §   Adversary Proceeding No.
                                      Plaintiff,
                                                                  §
                                                                  §   No. 20-03190-sgj
     vs.
                                                                  §
                                                                  §
     JAMES D. DONDERO,
                                                                  §
                                                                  §
                                      Defendant.

           ORDER GRANTING DEBTOR’S MOTION FOR A PRELIMINARY INJUNCTION
                             AGAINST JAMES DONDERO

              This matter having come before the Court on Plaintiff Highland Capital Management,

     1
       The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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L.P.’s Emergency Motion for a Temporary Restraining Order and Preliminary Injunction

against Mr. James Dondero [Adv. Pro. Docket No. 2] (the “Motion”), filed by Highland Capital

Management, L.P., the debtor and debtor-in-possession (the “Debtor”) in the above-captioned

chapter 11 case (the “Bankruptcy Case”), and the plaintiff in the above-captioned adversary

proceeding (the “Adversary Proceeding”); and this Court having considered (a) the Motion, (b)

Plaintiff Highland Capital Management, L.P.’s Verified Original Complaint for Injunctive Relief

[Adv. Pro. Docket No. 1] (the “Complaint”), (c) the arguments and law cited in the Debtor’s

Amended Memorandum of Law in Support of its Motion for a Temporary Restraining Order and

Preliminary Injunction against Mr. James Dondero [Adv. Pro. Docket No. 3] (the

“Memorandum of Law,” and together with the Motion and Complaint, the “Debtor’s Papers”),

(d) James Dondero’s Response in Opposition to Debtor’s Motion for a Preliminary Injunction

[Adv. Pro. Docket No. 52] (the “Opposition”) filed by James Dondero, (e) the testimonial and

documentary evidence admitted into evidence during the hearing held on January 8, 2021 (the

“Hearing”), including assessing the credibility of Mr. James Dondero, (f) the arguments made

during the Hearing, and (g) all prior proceedings relating to the Motion, including the December

10, 2020 hearing on the Debtor’s Motion for a Temporary Restraining Order and Preliminary

Injunction against James Dondero [Adv. Pro. Docket No. 6] (the “TRO Hearing”); and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that venue of this proceeding and the Motion in this District is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that injunctive relief is warranted

under sections 105(a) and 362(a) of the Bankruptcy Code and that the relief requested in the

Motion is in the best interests of the Debtor’s estate, its creditors, and other parties-in-interest;



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and this Court having found that the Debtor’s notice of the Motion and opportunity for a hearing

on the Motion were appropriate and that no other notice need be provided; and this Court having

determined that the legal and factual bases set forth in the Debtor’s Papers, and the evidence

submitted in support thereof, establish good cause for the relief granted herein, and that (1) such

relief is necessary to avoid immediate and irreparable harm to the Debtor’s estate and

reorganization process; (2) the Debtor is likely to succeed on the merits of its underlying claim

for injunctive relief; (3) the balance of the equities tip in the Debtor’s favor; and (4) such relief

serves the public interest; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor and for the reasons set forth in the record on

this Motion, it is HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       James Dondero is preliminarily enjoined and restrained from (a) communicating

(whether orally, in writing, or otherwise), directly or indirectly, with any Board member unless

Mr. Dondero’s counsel and counsel for the Debtor are included in any such communication; (b)

making any express or implied threats of any nature against the Debtor or any of its directors,

officers, employees, professionals, or agents, in whatever capacity they are acting; (c)

communicating with any of the Debtor’s employees, except as it specifically relates to shared

services currently provided to affiliates owned or controlled by Mr. Dondero; (d) interfering with

or otherwise impeding, directly or indirectly, the Debtor’s business, including but not limited to

the Debtor’s decisions concerning its operations, management, treatment of claims, disposition

of assets owned, controlled or managed by the Debtor, and the pursuit of the Plan or any




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alternative to the Plan; and (e) otherwise violating section 362(a) of the Bankruptcy Code

(collectively, the “Prohibited Conduct”). 2

        3.       James Dondero is further preliminarily enjoined and restrained from causing,

encouraging, or conspiring with (a) any entity owned or controlled by him, and/or (b) any person

or entity acting with him or on his behalf, to, directly or indirectly, engage in any Prohibited

Conduct.

        4.       James Dondero is further preliminarily enjoined and restrained from

communicating (in person, telephonically, by e-mail, text message or otherwise) with Scott

Ellington and/or Isaac Leventon, unless otherwise ordered by the Court.

        5.       James Dondero is further preliminarily enjoined and restrained from physically

entering, or virtually entering through the Debtor’s computer, email, or information systems, the

Debtor’s offices located at Crescent Court in Dallas, Texas, or any other offices or facilities

owned or leased by the Debtor, regardless of any agreements, subleases, or otherwise, held by

the Debtor’s affiliates or entities owned or controlled by Mr. Dondero, without the prior written

permission of Debtor’s counsel made to Mr. Dondero’s counsel. If Mr. Dondero enters the

Debtor’s office or other facilities or systems without such permission, such entrance will

constitute trespass.

        6.       James Dondero is ordered to attend all future hearings in this Bankruptcy Case by

Webex (or whatever other video platform is utilized by the Court), unless otherwise ordered by

the Court.

        7.       This Order shall remain in effect until the date that any plan of reorganization or

liquidation resolving the Debtor’s case becomes effective, unless otherwise ordered by the Court.

2
  For the avoidance of doubt, this Order does not enjoin or restrain Mr. Dondero from (1) seeking judicial relief
upon proper notice or from objecting to any motion filed in this Bankruptcy Case, or (2) communicating with the
committee of unsecured creditors (the “UCC”) and its professionals regarding a pot plan.

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        8.       All objections to the Motion are overruled in their entirety.

        9.       The Court shall retain exclusive jurisdiction with respect to all matters arising

from or relating to the implementation, interpretation, and enforcement of this Order.


                                     ### END OF ORDER ###




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